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Kitchens, Cynthia M
From:                             Haskell, Rocky
Sent:                             Wednesday, April06,20't6 10:44 PM
To:                               Darnell, Tracy A; Kitchens, Cynthia M
Cc:                               Pentz, Bonald J; Castleberry, Keith W
Subiect:                          BE: LN 442shake /delivery


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From: Darnell, Tracy A
Sent: Wednesday, April06, 2016 7:05 AM
To: Jones, Matthew G; Kitchens, Cynthia M
Cc: Haskell, Rocky; Pentz, Ronald J; Castleberry, Keith W; Boland-Masterson, lennifer L
Subject: RE: LN 442 shake / delivery

On 3/37/20L6 Matt Jones was asked to make lead ship, AC 442, a priority due to the extent of open work and the ship
date. He was asked to miss his training and reschedule it to help meet production needs for delivery. I am sorry for any
confusion this has caused.

;,:   _.




      ..'..

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           2:16-cv-03723-BHH      Date Filed 12/13/17          Entry Number 36-6   Page 2 of 17




From:                        Darnell, Tracy A
Sent:                        Tuesday, December 1,2015 6:29 AM
lo:                          Kitchens, r:ynthia M; Gingras, Gordon L
Subject:                     Desk



For the last couple of days FOD and trash was left on my desk. I would appreciate if these
items goes in the trash, not the desk. lf you have issues with anything left from first shift take a
picture so I can address it with the team.




Regads,

Tracy A. Damell
Quality Manager - Mid Body Cell 1O

The Boeing Company
5400 international Blvd
Narth Charlestan, SC 29418
787 Dreamliner




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                                                                                    TBC/CK_oo1 169
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rt   From:                               Kitchens, Cynthia M
     Sent:                               Tuesday, December 1,2O15 4:37 PM
      lo:                                Porter, Leprincess W
     Subject:                            Fw: Trash left on desks



     Leprincess. I need this to be recorded. lt was been going on for while I have talk to Steve few times about this.
     My hands are shaking trying to type this. Tomorrow. lf will call EEO if nothing is done. Thank you.

     Sent from_my BlackBerrV
                                   !0 lmartqhone.
      From : Kitchens, Cynthia M <cynthia.m. kitchens@boeing.com >
      Sent: Tuesday, December 7,2015 4:32 PM
      To: Parrinello, Stephen J
      Subject: Re: Trash left on desks

     Steve, l'm very serious about being moved away from this hostel environments with Tracy Cleveland. am at
     mV 21,/2 year point of my 5 year recovery from my cancer. I should not be under stress. I can not let myself be
     in this stress everyday. I can not address thing that need done for fear of retaliation or attack. I asked you
     what I needed to do to make her happy. I had even said I would have a meeting with you Sue N Tracy.


     lent flom my BlackBerry 10 smartphone
.    From: Parinello, Stephen J
                                                                   i
                                                                   I


i    Sent: Tuesday, Decemhr 1,2015 4:07 PM
     To: Kitchens, Cyntftia M; Gingras, Gordon L
     SubjecE RE: Trash left on dmks

     Gordon,

     Cindy has just stated this is from your personnel. ls this true.

     cindy,

     lf these things are being left from the other shift then you should be addressing this immediately with Gordon.

     RespecffiJly,

     8t*Pffi
     Sr. QralityMgr.
     Phone 84&7894580
     e.dl 84&327-w55
     I{id Body Assembly and hesrdtiotr
     l0/WftAlMl0 erd shift

     "Success is simple. Do whafs right, the right way, at the right time."

     Arnold H, Glasow

     {9{I3 - 1998, American author & humorist

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Flom: Kitchens. Clnthia M
Senh Tuesday, December 01,2015 4:05 PM
To: Parrinello, Stephen J
Subjecft Re: Trash left on desks

Steve, these are items from the shift before. We do not want to throw things away that belong to others soda plastic
silverware. The FOD is being left in the bags not sure where that comes from. lf they do not mind we wiltjust trash any
thing we find in the area. We just put it there to let them take care of the items from there shift. When I clean back
there I pick up and put items away as lfind them.
It is getting harder and harder to know what to do. We do not want to step on toes so we don't throw there things away.
lf we put on the desk then we are wrong. This job is getting very hostel I'm not sure what to say or not say or do. lt was
never this hard. I think t need to be moved away from this area because I am not able to do my job with out retaliation.
Please lets discuss where I can better fit. Thank you.
Sent from my BlackBerry 10 smartphone.
Fromr Parrinellq Stephen J
Sentr Tuesday, Deember 1, 2015 11:55 AM
Tor Kitchens, Cynthia M
Subiect Trash left on desk

Cindy,

                tellme who is                                   desks? This is unacceptable,




Respecffirllp
St,* Pa**o/fo
Sr. QualityMsr.
Phone84S789S580
C*il 8&8t1-2755
Mid Body Assembly and Integrxiou
LA/X$W&/SO 9ndsffi

"Success is simple. Do whafs right the right way, at the right time."

Arnold H, Glasow

1903 -'1998, American auttror & humorist


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                 2:16-cv-03723-BHH            Date Filed 12/13/17          Entry Number 36-6          Page 5 of 17




     From:                              Parrinello, Stephen J
1'   Sent:                              Wednesday, December 2,2015 1:24 PM
      lo:                               Porter, Leprincess W
     Subjecr:                           Fw: Trash left on desks



     Fvi


     Sent from my BlackBerry 1O smartphone.
      From: Kitchens, Cynthia M
      Senh Wednesday, December 2,2A75 1:22 PM
      To: Parrinello, Stephen J
      Subjech Re: Trash left on desks

     Steve, you are not the person that I feel is causing the Hostel work place it's Tracy. I have no problem with
     you. Just need little more support so I can do my job well. Thank you.

     Sent from my BlackBerry L0 smartphone.
     Frtm: Paninello, Stephen J
     Senh Tuesday, December 1, 2015 4:59 PM
     To: Krtctens, Cynthia M
     Subjec* RE: Trash left on deslcs

     Cindy,
     Moving you is not the answer if you feelthat you are being retaliated against then we willwork it out. But I also have
     spolten
     to several personnel who have said that you have also been the aggressor in the situation. Sue and I will set up a
     meeting ASAP
     to see you both.
     Respectfully,
     Steve Parrinello
     Sr. Quality Mgr.
     Phone 843-789-8530
     Cr,ll843-327-2755
     Mid Body Assembly and lntegration
     Lol zoftal 40 | so 2nd shlft
     "Success is simple. Do what's right, the right way, at the right time."
     Arnold H. Glasow
     1991--19e:s.argEqte$q:@r!
     From: Kitchens, Cynthia M
     Senil Tuesday, DecemberOl, 2O154:32 PM
     To: Parrinello, Stephen J
     Subject Re: Trash left on desks
     Steve, I'm very serious about being moved away from this hostel environments with Tracy Cleveland. am at
     my 2l/2 year point of my 5 year recovery from my cancer. t should not be under stress. I can not let myself be
     in this sffess everyday. I can not address thing that need done for fear of retaliation or attack. I asked you
     what I needed to do to make her happy. I had even said lwould have a meetingwith you Sue N Tracy.
     Sent from my BlackBerry 1O smartphone.
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 From: Parrinello, Stephen J
 Sent: Tuesday, December 1,2015 4:07 PM
 To: Kitcheng Cynthia M; Gingras, Gordon L
 Subject: RE: Trash left on desks
Gordon,
Cindy has just stated this is from your personnel. ls this true.
Cindy,
lf these things are being left from the other shift then you should be addressing this immediately with Gordon.
Respectfully,
Steve Parrinello
Sr. Quality Mgr.
Phone 843-789-8530
Cell 843-327-2755
Mid Body Assembly and lntegration
tol 20 I 30 I 40150 2nd shift
"Success is simple. Do what's right, the right way, at the right time."
Arnold H. Glasow
1e03 - 1ee8, A'ngg11    i!$gl9 blgg!!$
 From: Kitchens, Cynthia M
Sent: Tuesday, December OL,2075 4:05 PM
To: Parrinello, Stephen J
Subject: Re: Trash left on desks
Steve, these are items from the shift before. We do not want to throw things away that belong to others soda plastic
silverware. The FOD is being left in the bags not sure where that comes from. lf they do not mind we will just trash any
thing we find in the area. We just put it there to let them take care of the items from there shift. When I clean back
there I pick up and put items away as I find them.
It is getting harder and harder to know what to do. We do not want to step on toes so we don't throw there things away.
lf we put on the desk then we are wrong. This job is getting very hostel I'm not sure what to say or not say or do. lt was
never this hard. I think I need to be moved away from this area because I am not able to do my job with out retaliation.
Please lets discuss where I can better fit. Thank you.
Sent from my BlackBerry 1O smartphone.

From: Parrinello, Stephen J
Sent: Tuesday, December 1, 201"5 L1:55 AM
To: Kitchens, Cynthia M
Subject: Trash left on desks
Cindy,
                                                                   desks? This is unacceptable.




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    Respectfully,
    Steve Parrinello
    Sr. Quality Mgr.
    Phone 843-789-8530
,
    Cell 843-327-2755
    Mid Body Assembly and lntegration
    La I 20 I tol 40150 2nd shift
    "Success is simple. Do what's right, the right way, at the right time.,'
    Arnold H. Glasow
    1903 - 1998, American author & humorist




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i    From:                             Parrinello, Stephen J
     Sent                              Tuesday, December8,2015 8:44 PM
     To:                               Kitchens, Cynthia M
     Subject                           RE: problem



    Cindy

    I am willing to give my support but I do not have any information within the email that says anything was inappropriate.


     Please read Teresa's email carefully, I do not see in anything that Teresa said that she was reprimanded,
    so I don't understand what Teresa is trying to say. Teresa never even said that Tracy was rude. Tracy
    asked a question and explained to her that she was tasked by a Senior manager to find out. Did you
    have a face to fuce with her? Did you give her a turnover when you saw her this morning so she could
    have asked you the question? Managers can ask employees questions as long as they are not rude or
    threatening toward them. lf Teresa feels this didn't happen please ask her to contact Leprincess.

    Respecffirlln
    .9a* Parrho//o
    Sr. Qualityldsr.
    Phone 84&789-8530
    C,rull 843A27-2755
    Mid BodyAsse.mbly and Integratiou
,   10/20/50/40/50 2nd shift

    "Success is simple. Do what's right, the right way, at the right time."

    Arnold H. Glasow

    {903 - {998, American author & humorist


    From: Kitchens, Cynthia M
    Sent: Tuesday, December 08, 2015 B:22 PM
    To: Parrinello, Stephen J
    Subject: Fw: problem


    Steve, this is where the conflict with Tracy is not letting me do me job. !f this was any other manager. I
    understand she is a temp and has not had all the training on how to talk to employees as a manager. I could
    ask that manager to please come thru me for my employee. I'm not willing to open the storm that would
    come from me asking her this question. I would like to assure Terrie that I have her back as her manager. Do
    you have any input as my senior? l'm asking for your support.
    Sent from my BlackBerry 10 smartphone.
    From : Roumil lat, Teresa T <teresa.t. roumillat@boeing.com >
    Sent: Tuesday, December B, 2015 7:48 AM
    To: Kitchens, Cynthia M
    Subject:

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    Cynthia,

    Do other Managers know that they are not allowed to give work to, reprimand or direct another Manager's employee?

{
    Tracy came asking why I rejected a call & proceeded to tell me Susan Heikamp would probably want to know why...
    because she was tasked with the action item...,


    First Pass Quality - if the tool to verify the job is not at/with the job, I rejec! as it means the MT did not verify
    PRIOR to Quality - which is required.


    Just an FYl.



    As Always,


    ,%*g
    "Whot we hove to sell to oll aur customers is obility.
    Ability is not to be found ln buildings and equipment, or in machines; the ability of The Eoeing Compsny rests with the people who
    are Boeing."
    -William    M. Allen, Boe ing presldent/chairman, 7945-7972




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i   From:                             Parrinello, Stephen J
'   Sent:                             Wednesday, December 9,2015 2:13 PM
     lo:                              Porter, Leprincess W; Kitchens, Cynthia M
    Subject:                          RE: Statement




    Cindy,

    This needs to be completed today and returned to Leprincess so she has it tomorrow morning.

    Respectfirlln
    ,9t* Parrrirffi
    Sr. QualityMgr.
    Phone 84&789-8530
    cdl 84L327-2755
    Mid BodyAssembly and Integration
    10/20130/ 401 50 9nd shift

    "Success is simple. Do what's right, the right way, at the right time."

    Arnold H. Glasow

    1903 - {998, American author & humorist


    From: Porter, Leprincess W
    Sent: Wednesday, December 09, 2015 L:47 PM
    To: Kikhens, Cynthia M
    Cc: Parrinello, Stephen J
    Subject: RE: Statement

    Good Afternoon Cynthia,

    I am not sure if you received my two voicemails that I left about our phone conversation in regards to Tracy. Please
    provide your statement against the allege allegations against Tracy. Please email the statement by COB tomorrow.
    Please let me know if you have any questions.

    Thanks


    From: Porter, Leprincess W
    Sent: Wednesday, December 02, 2015 12:35 PM
    To: Kitchens, Cynthia M
    Subject: Statement

    Good Afternoon Cynthia,

    Please see attachment to provide a statement in regards to your email. Please let me know if you have any questions.

    Thanks

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LePrincess Porter
HR Generalist
Quality Assurance
North Charleston, SC
843-2A7-3529

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/t   From:                              Kitchens, Cynthia M
     sent:                              Thursday, December 10, 2015 1:07 AM
     To:                                Porter, Leprincess W
     Subject:                           RE: Statement




     Hello Leprincess, Yes I heard the phone ring when I had just went to bed. Then again while I was sleeping it is hard to
     receive calls after working all night. t listen to your voice mail the other night when you said call when you get this it was
     12am so I did not call you back. Steve said I had to finishes this form tonight I will try. I have my tablet at home that I
     need to write this letter I am not feeling very good tonight felt sick I tried to come in and make it work but, lthink that I
     might have to go home. lwill have this to you by Friday 11sAM thank you for understanding.

      g*eZ,%
     Quality Manager
     843-327-2192 c,ell lO
     Gynthia.m.kitchens@Boeing. com

     It is the friends we meet along life's path that help us appreciate the Journey.


     From: Porter, Leprincess W
     Sent: Wednesday, December 09, 2O15 1-:47 PM
     To: Kitchens, Cynthia M
:    Cc: Parrinello, Stephen J
     Subject RE: Statement

     Good Afternoon Cynthia,

     I am not sure if you received my two voicemails that I left about our phone conversation in regards to Tracy. Please
     provide your statement against the allege allegations against Tracy. Please email the statement by COB tomorrow.
     Please let me know if you have any questions.

     Thanks


     From: Porter, Leprincess W
     Sent: Wednesday, December 02, 2015 12:35 PM
     To: Kitchens, Cynthia M
     Subject: Statement

     Good Afternoon Cynthia,

     Please see attachment to provide a statement in regards to your email. Please let me know if you have any questions.

     Thanks

     LePrincess Porter
     HR Generalist
     Quality Assurance
                                                                                                           TBC/CK_001 179
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  North Charleston, SC
  843-207-3529

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From:                             Kitchens, Cynthia M
Sent                              Sunday, December 13,2015 10:15 PM
To:                               Porter, Leprincess W
Subject:                          Re:Meeting Request



Approved

Sent from my BlackBerry L0 smartphone.
From; Porter, Leprincess W
Sent: Friday, December 11, 2015 2:4L PM
To: Kitchens, Cynthia M
Cc: Parrinello, Stephen J
Subject: Meeting Request

Good Afternoon Cynthia,

lwould like to schedule a meeting with you and Teresa at 5:00 a.m. I would also like to schedule a second meeting with
you at 5:3Oa.m. with Tracy, Sue, and Steve on Monday. I will send you a calendar invite for both meetings. Please let me
know if those time frames will work.

Thanks


From: Kitchens, Cynthia M
Sent: Friday, December 11",2A15 2:32 AM
Tor Porter, Leprincess W
Subject: RE: Statement

Thank you


 g4e#,%
Qualit3r Manager
A43-327-2{92 eell {O
Gunthia. m.kitchen@Boei nrr.com

It irs the friends we meet along life's path that help us appreciate the Journey.

From: Porter, Leprincess W
Senft Wednesday, December 09, 2015 L:47 PM
To: Kitchens, Cynthia M
Cr: Parrinello, Stephen J
Subjech RE: Statement

Good Afternoon Cynthia,




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    I am not sure if you received my two voicemails that I left about our phone conversation in regards to Tracy. Please
    provide your statement against the allege allegations against Tracy. Please emai[ the statement by COB tomorrow.
    Please let me know if you have any questions.

\   Thanks


    From: Portel Leprincess W
    Sent: Wednesday, December 02, 20L5 12:35 PM
    To: Kitchens, Cynthia M
    Subject: Statement

    Good Afternoon Cynthia,

    Please see attachment to provide a statement in regards to your email. Please let me know if you have any questions.

    Thanks

    LePrincess Porter
    HR Generalist
    Quality Assurance
    North Charleston, SC
    843-207-3529




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i   From:                             Parrinello, Stephen J
    Sent:                             Monday, December 14,2015 9:35 AM
    To:                               Kitchens, Cynthia M
    Cc:                               Porter, Leprincess W
    Subject:                          CA



    Cindy,

    Just sending you this email as documentation that you were issued a verbal warning in reference the interactions
    between you and your peer.

    Respecffirlly,

    Sto* Parrlrl/o
    Sr. Qualitylvfur.
    Phone 84&7894580
    Cell 84W27-2755
    Mid BodyAssembly and krtegration
    t0/20/801 40/ 50 Znd shift

    "Success is simple. Do whafs right, the right way, at the right time."

    Arnold H. Glasow

    1903 - {998, American author & humorist




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1   From:                            Heitkamp, Sue E
'   Sent                             Monday, December 14,201510:26 AM
    To:                              Darnell, Tracy A; Kitchens, Cynthia M; Parrinello, Stephen i; Porter, Leprincess W
    Cc:                              Heitkamp, Sue E
    Subject:                         Tracy Darnell and Cynthia Kitchens



    Steve Parrinello and I held a meeting at 5:30 this morning with Leprincess Porter, Tracy Darnell & Cynthia Kitchens in
    attendance to discuss the ongoing conflict between Tracy and Cynthia. We took time to listen to both individuals on
    their concerns on how they felt they were being treated by the opposing party. Steve and I went on to provide what our
    expectations were for both individuals as managers and how they are to better communicate going forward.

    Steve and I communicated to both individuals that this level setting meeting was being documented as a verbal
    corrective action. Both parties acknowledged that they understood.


    SueE l{eitkamp f,,
    Sr. Manager Quality
    charleston Mid BodyA&I
    (843) 2075770 - Desk
    (843) 302-6261 - CeIl

    'We are what we reyeatedfy {o. Exceffence, tften, k not sn &ct, 6ut a habit."

    Aristotfe




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